Case 4:21-mj-04436-N/A-BGM Document1 Filed 04/26/21 Page 1of1

CRIMINAL COMPLAINT
_(Electronically Submitted)

United States District Court DISTRICT of ARIZONA

United States of America
v.
Kevin Stennis Gordon
DOB: 1966 United States Citizen MAGISTRATE'S CASE NO.

21-04436MJ

 

 

 

 

 

Complaint for violation of Title 18, United States Code, Sections 111(a) and 111(b)

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:
On or about April 24, 2021, at or near Tucson in the District of Arizona, Defendant Kevin Stennis Gordon, using a
deadly or dangerous weapon, did intentionally and forcibly assault, resist, oppose, impede, intimidate, and interfere
with United States Veteran's Administration Officers B.M. and E.S., officers or employees of the United States as
designated in section 18 U.S.C. § 1114, while Officers B.M. and E.S. were engaged in or on account of the
performance of their official duties, and inflicted bodily injury to officer B.M.

All in violation of Title 18, United States Code, Sections 111(a) and 111(b).

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

On April 24, 2021, Department of Veterans Affairs (VA) Police Officers B.M. and E.§. were working at the VA
Medical Center in Tucson, Arizona. VA Police received a report about an irate individual in one of the buildings
located on the property. VA Police eventually located this individual, later identified as Kevin Stennis Gordon, in
a construction site area on the property. Gordon was observed pushing a cart with a pallet with pipe valves on top
of the pallet. Officer B.M. told Gordon that he could not take the construction company’s property. As Gordon
pushed the cart, it tipped backwards, and the pallet and pipe valves fell off. Gordon then pulled out a metal rod with
hinges on the ends. He swung the metal rod a couple of times at a distance. Gordon was swinging the piece of metal,
stepped forward, and hit Officer B.M.’s forearm with the rod, causing a scratch. At some point when Gordon had
possession of the metal rod, Officer E.S. pepper-sprayed Gordon across his forehead. After Gordon dropped the
piece of metal, he picked up a rock and threw it towards E.S., missing him. Gerdon grabbed the cart and was shoving
it at the Officers as he backed away. During this time, Officer E.S, and Officer B.M. were telling Gordon that they
did not want to hurt him, and that they wanted to help him. Gordon dumped the cart, leaned over, and said something
to the effect that he was going to kill them. Gordon pulled out a pipe, which was approximately two feet long and
one inch in diameter, a deadly or dangerous weapon, from his left pants leg and started swinging it at the Officers.
Gordon swung at Officer B.M. and then lunged at Officer E.S. When Gordon lunged at Officer E.S., the pipe hit
Officer E.S.’s duty firearm, and Officer E.S. fired one round. ‘This round hit Gordon in the lower left torso area. As
Officers rendered medical aid to Gerdon, he continued to fight with them. Officers B.M. and E.S. were officers or
employees of the United States and were engaged in the performance of their duties at the time.

MATERIAL WITNESS(ES) IN RELATION TO THE CHARGE:

 

 

 

 

 

DETENTION REQUESTED SIGNATURE OF COMPLAINANT
COMPLAINT REVIEWED by AUSA Adam Rossi ,
AM Digitally signed by
Being duly sworn, { dectare that the foregoing is ADAM ROSS! OFFICIAL TITLE & NAME:
true and correct to the best of my knowledge. ROSSI 1946:59-0700" FBI SA Michelle Terwilliger

 

Sworn to telephonically.

 

 

SIGNATORE OF MXGIS TERY SODGt LF DATE
April 26, 2021

 

 

       

 

See Federat rules of Criminal Pr tee Rules 3.41 ad 4

 

 

 

 
